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                                                                   #393
AO 2458       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois
                                                                         )
              UNITED STATES OF AMERICA                                   )        JUDGMENT IN A CRIMINAL CASE
                                  v.                                     )
                         Joe L. Barnhart                                 )
                                                                                  Case Number: 3:08CR30067-004-JPG
                                                                         )
                                                                         )        USM Number: 07459-D25
                                                                         )
                                                                         )         Amanda Robertson, AUSA
                                                                                  Defendant's Attorney
THE DEFENDANT:
iiil'pleaded guilty to count(s)        1 of the Superseding Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense



 21 U.S.C. 846                     Conspiracy to Manufacture, Distribute & Possess with                     4/5/2008                    1s

                                    Intent To !Jistrib\iteSubstan~ containing MethaTT)phetaniine

       The defendant is sentenced as provided in pages 2 through          __1:..:0~_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) - - - - - - - - - - - o is                             o are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all [mes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

                                                                             3/26/2009
                                                                         Date of Imposition nf~ U d g ~




                                                                         Sign.tur~
                                                                             J. Phil Gilbert                           District Judge
                                                                         Name of Judge                                Title of Judge




                                                                          Da~~
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AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 78 months on Count 1 of the Superseding Indictment.




    ¢ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Intensive Drug Treatment Program.



    ¢     The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
      o at                                  0 a.m.        o p.m. on
      o as notified by the United States Marshal.
    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o before 2 p.m. on
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

a                                                    _   with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL



                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL
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AO 2458        (Rev. 09/08) Judgment in a Criminal Case
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               Sheet 3 - Supervised Release


DEFENDANT: Joe L. Barnhart                                                                                 Judgment-Page       3    of   _~_
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 4 years on Count 1 of the Superseding Indictment.

        The defendant mus~ report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)

o        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.)
         as direc.ted by the probatlOn offi~er, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convIcted of a qualIfymg offense. (Check. if applicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
        [fthis judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page,

                                            STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any p'ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or ,I'ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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          Sheet 3C - Supervised Release                        #396
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.


 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $25.00 or ten
 percent of his net monthly income, whichever is greater over a period of 16 months to commence 30 days after release
 from imprisonment to a term of supervision.

 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or participation in a residential treatment facility. Any
 participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.
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           Sheet 5 - Criminal Monetary Penalties                #397
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DEFENDANT: Joe L. Barnhart
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                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                 Fine                                  Restitution
TOTALS            $ 100.00                                                   $ 300.00                              $ 0.00


o The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paY11lent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.




TOTALS                            $                       ..:.0..:..0-'--0        $                    ..:.0...:.00"--


o    Restitution amount ordered pursuant to plea agreement $                                       _

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All ofthe payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

'lit The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     rit the interest requirement is waived for the rot fine 0 restitution.
     o the interest requirement for the o fine 0 restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113A ofTitle 18 for offenses committed on or after
September 13,1994, but before April 23, 1996.
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           Sheet 6 - Schedule of Payments                          #398
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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment oflbe total criminal monetary penalties is due as follows:

A     r;f Lump sum payment of $ _4-"0'-'0=-:.0"-0=---         _ due immediately, balance due

           o     not later lban                                     , or
           o     in accordance          o C,       0     D,     o     E, or    'it F below; or
B     0    Payment to begin immediately (may be combined with                 DC,        OD,or         OF below); or

c     0    Payment in equal                         (e.g., weekly. monthly. quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                         (e.g.., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence wilbin                (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment oflbe defendant's ability to pay at lbat time; or

F     r;f Special instructions regarding the payment of criminal monetary penalties:
            X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
            commencement of the term of supervised release. The defendant shall pay the fine in installments of $25.00 or
            ten percent of his net monthly income, whichever is greater over a period of 16 months to commence 30 days after
            release from imprisonment to a term of supervision.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet¥U)' penalties is due during
imprisonment. All cruninal monetary penalties, except those payments made through the Federal Bureau of PrIsons' Inmate Financial
Responsibility Program, are made to the clerk of the court,

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to lbe United States:




Payments shall be applied in the following order: (J) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
